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UNITED STATES DISTRICT COURT                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                     DOC #: _ _ _.r;.q.____,,..,._,4-
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In re: PETROBRAS SECURITIES
LITIGATION                                           ORDER

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JED S. RAKOFF, U.S.D.J.
                                                  Nev ~~£{ 1SK,)
     Class Plaintiffs have moved for sanctions (as well as for

an appeal bond) against objectors Joshua R. Furman, Joseph

Gielata, and Richard Gielata. See Dkt. 856, 859, 862. By Joint

telephone conference this morning, counsel for a different

objector, William Thomas Haynes     ("Haynes~),   who is not the

subject of any motion for sanctions (or for an appeal bond),

nevertheless applied to the Court for permission to submit

papers in opposition to the foregoing sanctions motions because

of their alleged "chilling effect" on obJectors generally. The

Court tentatively denied the application on the ground that

Haynes had no personal stake or other legally cognizable

interest in plaintiffs' sanctions motions against other

objectors; but the Court reserved final decision until it could

examine a case cited on the phone call by Haynes' counsel, as

well as numerous cases cited by plaintiffs' counsel in response.

Having now examined the cases, the Court finds totally

inapposite the case cited by Haynes' counsel, Stetson v.

Grissom, 821 F.3d 1157    (9th Cir. 2016), and, instead, finds that
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there is ample and persuasive authority supporting the Court's

tentative conclusion that Haynes has no legally cognizable

interest in the pending motions, see, e.g.,         In re Bayer Corp.

Combination Aspirin Prods. Mktg. & Sales Practice Litig., No.

09-md-20123, 2013 U.S. Dist. LEXIS 125555, at *9 n.l           (E.D.N.Y.

Sept. 3, 2013). Accordingly, the Court confirms its tentative

conclusion and denies the application.



     SO ORDERED.

Dated:
            August  a,
            New York, NY
                       2018
